              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:16-cr-00051-MR-WCM-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
     vs.                        )                   ORDER
                                )
LARRY BROWN,                    )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s “Motion for a

Reduction in Sentence Pursuant to the First Step Act and the Changes to

the Compassionate Release Statute and 18 U.S.C. 3582(c)(1)(A)(i)” [Doc.

194]; the Defendant’s letter, which the Court construes as a motion for the

appointment of counsel [Doc. 195]; and the Government’s Motion to Seal

Exhibit to Response [Doc. 202]

I.    BACKGROUND

      In August 2016, the Defendant Larry Brown pled guilty to one count of

conspiracy to distribute methamphetamine. [Doc. 78]. In March 2017, the

Court sentenced him to a term of 151 months of imprisonment to be followed




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by five years of supervised release. [Doc. 120]. The Defendant is currently

housed at USP Atlanta, and his projected release date is February 1, 2030.1

         The Defendant now seeks a reduction in his sentence pursuant to 18

U.S.C. § 3582(c)(1)(A)(i) in light of the ongoing COVID-19 pandemic. [Doc.

194].      Specifically, the Defendant argues that he has underlying health

conditions that place him at a higher risk for severe illness from COVID-19,

and that his particular vulnerability to the illness is an extraordinary and

compelling reason for an immediate sentence reduction to time served or a

release to home confinement.              [Id.].   The Defendant also filed a letter,

requesting the appointment of counsel to represent him in seeking

compassionate release. [Doc. 195]. The Court ordered the Government to

respond to the Defendant’s motion for compassionate release. [Text-Only

Order entered Nov. 19, 2020].              The Government filed its response on

December 21, 2020. [Doc. 200]. This matter is now ripe for disposition.




1   See https://www.bop.gov/inmateloc/ (last visited Jan. 8, 2021).


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II.    DISCUSSION

       A.    Motion for Compassionate Release

       Section 3582(c)(1)(A), as amended by The First Step Act of 2018, Pub.

L. No. 115-391, 132 Stat. 5194, 5239 (Dec. 21, 2018), permits a defendant

to seek a modification of his sentence for “extraordinary and compelling

reasons,” if the defendant has “fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.”      18 U.S.C. §

3582(c)(1)(A).

       As is relevant here, the Court may reduce a defendant’s sentence

under 18 U.S.C. § 3582(c)(1)(A)(i) for “extraordinary and compelling reasons

if “such reduction is consistent with applicable policy statements issued by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i). The Court must

also consider the factors set forth in 18 U.S.C. § 3553(a), to the extent that

such factors are applicable. Id.

       Section 1B1.13 of the United States Sentencing Guidelines sets forth

the Sentencing Commission’s policy statement applicable to compassionate

release reductions. See U.S.S.G. § 1B1.13.      As is relevant here, the


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application note to § 1B1.13 specifies the types of medical conditions that

qualify as “extraordinary and compelling reasons.” First, that standard is met

if the defendant is “suffering from a terminal illness,” such as “metastatic

solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ

disease, [or] advanced dementia.” U.S.S.G. § 1B1.13, cmt. n.1(A)(i).

Second, the standard is met if the defendant is:

           (I) suffering from a serious physical or medical
           condition,

           (II) suffering from a serious functional or cognitive
           impairment, or

           (III) experiencing deteriorating physical or mental
           health because of the aging process,

           that substantially diminishes the ability of the
           defendant to provide self-care within the environment
           of a correctional facility and from which he or she is
           not expected to recover.

U.S.S.G. § 1B1.13, cmt. n.1(A)(ii). Section 1B1.13, however, was adopted

before the First Step Act, and the Sentencing Commission has not updated

the policy statement to account for the fact that defendants are now permitted

to file their own motions for compassionate release.        In light of these

circumstances, the Fourth Circuit Court of Appeals has held that § 1B1.13 is

no longer an “applicable” policy statement that constrains the discretion of


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the district courts in finding that “extraordinary and compelling reasons”

exists to warrant a reduction in sentence. See United States v. McCoy, 981

F.3d 271, 282 (4th Cir. 2020) (“By its plain terms, . . . § 1B1.13 does not

apply to defendant-filed motions under § 3582(c)(1)(A)”). Thus, this Court is

“empowered . . . to consider any extraordinary and compelling reason for

release that a defendant might raise.” Id. at *284 (quoting United States v.

Zullo, 976 F.3d 228, 230 (2d Cir. 2020)). Nevertheless, § 1B1.13 “remains

helpful guidance even when motions are filed by defendants.” Id. at 282 n.7.

      The Defendant alleges in his Motion that he submitted a request for

“compassionate release” to the Warden of USP Atlanta and that 30 days had

lapsed without a response. [Doc. 194 at 30]. The Defendant’s Motion does

not state the date on which he purportedly made this request, nor did he

attach a copy of any documentation related to such request. In response to

the Defendant’s Motion, the Government states that BOP’s records do not

contain the alleged request or any notation that such a request was ever

made. [See Doc. 201-1 at 1-7]. As such, the Defendant has failed to

demonstrate that he exhausted the administrative remedies provided by the

BOP prior to filing his Motion. Accordingly, the Defendant’s Motion is subject

to being denied on this basis alone.


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      Even if the Defendant could demonstrate the exhaustion of the

remedies provided by statute, the Court would still deny his motion as he has

failed to demonstrate extraordinary and compelling reasons for his release.

      The Defendant attempts to establish extraordinary and compelling

reasons based on his particular susceptibility to the coronavirus due to a

number of unspecified medical “conditions.” [Doc. 194 at 3]. In his motion,

the Defendant identifies only one particular medical condition, that being high

blood pressure. [Id.]. The CDC does not recognize high blood pressure as

a condition that places a person at an increased risk for severe illness or

death.2   In any event, however, the BOP medical records provided by the

Government do not indicate that the Defendant in fact suffers from this

condition. [See Doc. 201-1]. Even if the Defendant does have high blood

pressure, that is a condition that can be adequately treated at BOP through

visits to BOP Health Services and with medication or lifestyle changes. The

Defendant’s alleged high blood pressure, therefore, does not serve as an

extraordinary and compelling reason justifying his early release.




2 See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (stating only that adults with hypertension “might be at an
increased risk for severe illness”) (last visited Jan. 8, 2021).

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      The Defendant also cites the impact of the COVID-19 pandemic in

general as an extraordinary and compelling reason for his release. In this

regard, the Court notes that the Federal Bureau of Prisons (“BOP”) has taken

significant measures to protect the health of its inmates. Since 2012, the

BOP has had a Pandemic Influenza Plan in place, which establishes a multi-

phase framework for BOP facilities to implement in the event of a viral

outbreak.3 The plan addresses social distancing, hygienic and cleaning

protocols, and the quarantining and treatment of symptomatic inmates.

      Consistent with that plan, BOP began planning for potential

coronavirus transmissions in January. At that time, the agency established

a working group to develop policies in consultation with subject matter

experts in the Centers for Disease Control (“CDC”), including by reviewing

guidance from the World Health Organization (“WHO”). On March 13, 2020,

BOP began to modify its operations, in accordance with its COVID-19 Action

Plan (“Action Plan”), to minimize the risk of COVID-19 transmission into and




3 BOP Health Services Division, Pandemic Influenza Plan-Module 1: Surveillance and
Infection Control (Oct. 2012), available at https://www.bop.gov/resources/pdfs/pan_flu_
module_1.pdf.



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inside its facilities. Since that time, as events require, BOP has repeatedly

revised the Action Plan to address the crisis.4

      The BOP’s operations are presently governed by Phase Seven of the

Action Plan. The current modified operations plan requires that all inmates

in every BOP institution be secured in their assigned cells/quarters in order

to stop any spread of the disease. Only limited group gathering is allowed,

with attention to social distancing to the extent possible, to facilitate

commissary, laundry, showers, telephone, and computer access. Further,

BOP has severely limited the movement of inmates and detainees among its

facilities. Though there will be exceptions for medical treatment and similar

exigencies, this step as well will limit transmissions of the disease. Likewise,

all official staff travel has been cancelled, as has most staff training. All staff

and inmates have been and will continue to be issued face masks and

strongly encouraged to wear an appropriate face covering when in public

areas when social distancing cannot be achieved.

      Every newly admitted inmate is screened for COVID-19 exposure risk

factors and symptoms. Asymptomatic inmates with risk of exposure are



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 See generally Federal Bureau of Prisons, COVID-19 Action Plan (Mar. 13, 2020, 3:09
PM), https://www.bop.gov/resources/news/20200313_covid19.jsp.

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placed in quarantine for a minimum of 14 days or until cleared by medical

staff. Symptomatic inmates are placed in isolation until they test negative for

COVID-19 or are cleared by medical staff as meeting CDC criteria for release

from isolation. In addition, in areas with sustained community transmission,

all facility staff are screened for symptoms. Staff registering a temperature of

100.4 degrees Fahrenheit or higher are barred from the facility on that basis

alone. A staff member with a stuffy or runny nose can be placed on leave by

a medical officer.

      Contractor access to BOP facilities is restricted to only those

performing essential services (e.g. medical or mental health care, religious,

etc.) or those who perform necessary maintenance on essential systems. All

volunteer visits are suspended absent authorization by the Deputy Director

of BOP. Any contractor or volunteer who requires access will be screened

for symptoms and risk factors. Social and legal visits were stopped as of

March 13, and remain suspended at this time, to limit the number of people

entering the facility and interacting with inmates. In order to ensure that

familial relationships are maintained throughout this disruption, BOP has

increased detainees’ telephone allowance to 500 minutes per month. Tours

of facilities are also suspended. Legal visits will be permitted on a case-by-


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case basis after the attorney has been screened for infection in accordance

with the screening protocols for prison staff. Further details and updates of

BOP’s modified operations are available to the public on the BOP website at

a regularly updated resource page: www.bop.gov/coronavirus/index.jsp.

     In addition, in an effort to relieve the strain on BOP facilities and assist

inmates who are most vulnerable to the disease and pose the least threat to

the community, BOP is exercising greater authority to designate inmates for

home confinement. On March 26, 2020, the Attorney General directed the

Director of BOP, upon considering the totality of the circumstances

concerning each inmate, to prioritize the use of statutory authority to place

prisoners in home confinement. That authority includes the ability to place

an inmate in home confinement during the last six months or 10% of a

sentence, whichever is shorter, see 18 U.S.C. § 3624(c)(2), and to move to

home confinement those elderly and terminally ill inmates specified in 34

U.S.C. § 60541(g). Congress has also acted to enhance BOP’s flexibility to

respond to the pandemic. Under the Coronavirus Aid, Relief, and Economic

Security Act (“CARES Act”), enacted on March 27, 2020, BOP may “lengthen

the maximum amount of time for which the Director is authorized to place a

prisoner in home confinement” if the Attorney General finds that emergency


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conditions will materially affect the functioning of BOP. Pub. L. No. 116-136,

§ 12003(b)(2), 134 Stat. 281, 516 (to be codified at 18 U.S.C. § 3621 note).

On April 3, 2020, the Attorney General gave the Director of BOP the authority

to exercise this discretion, beginning at the facilities that thus far have seen

the greatest incidence of coronavirus transmission. Since March 26, 2020,

BOP has transferred 20,053 inmates to home confinement.5

         Taken together, all these measures are designed to mitigate sharply

the risks of COVID-19 transmission in BOP institutions while allowing BOP

to continue to fulfill its mandate of incarcerating those persons sentenced or

detained based on judicial orders. Given the BOP’s efforts, the fact that the

Defendant faces a potential risk of contracting the virus while incarcerated,

without more, is not sufficient to justify the relief he requests. United States

v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“[T]he mere existence of COVID-

19 in society and the possibility that it may spread to a particular prison alone

cannot independently justify compassionate release, especially considering

BOP's statutory role, and its extensive and professional efforts to curtail the

virus's spread.”).




5   See https://www.bop.gov/coronavirus/ (last visited Jan. 8, 2021).

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      For all these reasons, the Court concludes that the Defendant has

failed to establish an “extraordinary and compelling reason” for a sentence

reduction under § 3582(c)(A)(1)(i).

      Even if the Defendant could establish an extraordinary and compelling

reason for his release, this Court still must consider the § 3553(a) factors, as

“applicable,” as part of its analysis of determining whether a sentence

reduction is warranted. See § 3582(c)(1)(A); United States v. Chambliss,

948 F.3d 691, 694 (5th Cir. 2020).

      Here, the Defendant’s offense of conviction was very serious, as it

involved the distribution of large quantities of methamphetamine, a

dangerous drug which inflicts a great deal of harm to the communities within

this District. Further, the Defendant has a significant criminal history, going

back 18 years, for which he was assessed a total of 23 criminal history

points, well above the amount of points necessary to qualify him for the

highest criminal history category.

      The Defendant’s offense conduct and extensive criminal history

demonstrate that he has posed an ongoing threat to public safety over an

extended period of time and that his release would pose a danger to the

safety of any other person or to the community. For all these reasons, the


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Court concludes that the need for the sentence to reflect the true extent and

seriousness of the Defendant’s offense, to promote respect for the law, to

provide just punishment, to afford adequate deterrence, and to protect the

public from the Defendant’s further crimes militate against a sentence

reduction in this case.

      In sum, the Court finds that there are no “extraordinary and compelling

reasons” for the Defendant’s release and that analysis of the relevant §

3553(a) factors continue to weigh in favor of his continued incarceration.

Accordingly, the Defendant’s motion for compassionate release is denied.

      B.    Motion for Appointment of Counsel

      The Defendant moves for the appointment of counsel to represent him

in these proceedings. [Doc. 195]. The Defendant has no constitutional right

to the appointment of counsel to file post-conviction motions. Lawrence v.

Florida, 549 U.S. 327, 336-37 (2007) (citing Coleman v. Thompson, 501 U.S.

722, 756-57 (1991)); Rouse v. Lee, 339 F.3d 238, 250 (4th Cir. 2003), cert.

denied, 541 U.S. 905 (2004) (citing Pennsylvania v. Finley, 481 U.S. 551,

555-56 (1987) (no constitutional right to counsel beyond first appeal of right)).

The Court may, in some circumstances, appoint counsel to represent a

prisoner when the interests of justice so require and the prisoner is financially


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unable to obtain representation. See 18 U.S.C. § 3006A(a)(2)(B). In the

instant case, however, the Defendant has failed to demonstrate that the

interests of justice warrant the appointment of counsel. See United States

v. Riley, 21 F. App’x 139, 141-42 (4th Cir. 2001).

      C.    Motion to Seal

      The Government moves the Court for leave to file under permanent

seal the BOP records [Doc. 201] filed in support of its Response to the

Defendant’s motion for compassionate release. [Doc. 202].

      Before sealing a court document, the Court must “(1) provide public

notice of the request to seal and allow interested parties a reasonable

opportunity to object, (2) consider less drastic alternatives to sealing the

documents, and (3) provide specific reasons and factual findings supporting

its decision to seal the documents and for rejecting the alternatives.”

Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). In the present

case, the public has been provided with adequate notice and an opportunity

to object to the Government’s motion. The Government filed its motion on

December 21, 2020, and such motion has been accessible to the public

through the Court’s electronic case filing system since that time. Further, the

Government has demonstrated that the subject records contain sensitive


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information concerning the Defendant and that the public’s right of access to

such information is substantially outweighed by the Defendant’s competing

interest in protecting the details of such information. See United States v.

Harris, 890 F.3d 480, 492 (4th Cir. 2018). Finally, having considered less

drastic alternatives to sealing the documents, the Court concludes that

sealing of these records is necessary to protect the Defendant’s privacy

interests.

      IT IS, THEREFORE, ORDERED that the Defendant’s “Motion for a

Reduction in Sentence Pursuant to the First Step Act and the Changes to

the Compassionate Release Statute and 18 U.S.C. 3582(c)(1)(A)(i)” [Doc.

194] is DENIED.

      IT IS FURTHER ORDERED that the Defendant’s letter, which the

Court construes as a motion for the appointment of counsel [Doc. 195], is

DENIED.

      IT IS FURTHER ORDERED that the Government’s Motion to Seal

Exhibit to Response [Doc. 202] is GRANTED, and the medical records

submitted in support of the Government’s Response [Doc. 201] shall be filed

under seal and shall remain under seal until further Order of the Court.




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  IT IS SO ORDERED.

                             Signed: January 12, 2021




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